Case 3:05-cr-30027-SMY      Document 304 Filed 12/02/09      Page 1 of 3   Page ID
                                      #821



                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

JOHN McCRAY, Sr.,

Defendants.                                               No. 05-CR-30027-DRH

                          MEMORANDUM AND ORDER

HERNDON, Chief Judge:

              On July 6, 2009, John McCray, Sr., pro se, filed a motion under 18

U.S.C. § 3582(c)(2) for reduction of sentence based on retroactive guideline

amendment, effective November 1, 2007, concerning cocaine base (“Crack”) (Doc.

297). The Court appointed counsel to represent McCray on the issue of a sentencing

reduction in light of the amendments to the United States Sentencing Guidelines, and

counsel has now moved to withdraw on the basis that he can make no non-frivolous

arguments in support of a reduction pursuant to 18 U.S.C. § 3582(c). See Anders

v. California, 386 U.S. 738, 744 (1967). McCray did not respond to the motion

to withdraw, even though he was given an opportunity to do so.

              Section 3582(c)(2) allows the Court to reduce a defendant’s previously

imposed sentence where “a defendant . . . has been sentenced to a term of

imprisonment based on a sentencing range that has subsequently been lowered by

the Sentencing Commission pursuant to 28 U.S.C. 994(o).” In doing so, the Court

                                     Page 1 of 3
Case 3:05-cr-30027-SMY      Document 304 Filed 12/02/09       Page 2 of 3   Page ID
                                      #822



must consider the factors set forth in 18 U.S.C. § 3553(a) and must ensure that any

reduction “is consistent with applicable policy statements issued by the Sentencing

Commission.”    18 U.S.C. § 3582(c)(2).      Thus, a defendant urging a sentence

reduction under § 3582(c)(2) must satisfy two criteria:         (1) the Sentencing

Commission must have lowered the applicable guideline sentencing range, and (2)

the reduction must be consistent with applicable policy statements issued by the

Sentencing Commission. If the defendant cannot satisfy the first criterion, the Court

has no subject matter jurisdiction to consider the reduction request. United States

v. Lawrence, 535 F.3d 631, 637-38 (7th Cir. 2008); see United States v.

Forman, 553 F.3d 585, 588 (7th Cir.), cert. denied sub nom McKnight v.

United States, 129 S.Ct. 1924 (2009).

             McCray cannot satisfy the first criterion because he was not “sentenced

to a term of imprisonment based on a sentencing range that has subsequently been

lowered by the Sentencing Commission pursuant to 28 U.S.C. 994(o).” 18 U.S.C.

§ 3582(c)(2).   Amendments 706 and 711 amended U.S.S.G. § 2D1.1(c) as of

November 1, 2007, to lower by two points the base offense levels associated with

various amounts of crack cocaine. The Sentencing Commission amended U.S.S.G.

§ 2D1.1(c) intending to alter the disparity in sentences involving crack cocaine and

sentences involving powder cocaine. The amendments did not, however, reduce the

sentencing range of defendants whose minimum guideline sentence was determined

under U.S.S.G. § 5G1.1(c)(2) based on a statutory minimum rather than under



                                     Page 2 of 3
Case 3:05-cr-30027-SMY     Document 304 Filed 12/02/09       Page 3 of 3   Page ID
                                     #823



U.S.S.G. § 2D1.1 based on relevant conduct amounts. See Forman, 553 F.3d at

588 (“Nothing in § 3582(c)(2) permits a court to reduce a sentence below the

mandatory minimum.”).

            McCray’s sentencing guideline range was based on a 240 month

statutory minimum. Because his sentence was based on a statutory minimum

sentence in accordance with U.S.S.G. § 5G1.1(c)(2), not his base offense level set

forth in U.S.S.G. § 2D1.1, the amendments did not lower his guideline range, and

he cannot satisfy the first criterion under 18 U.S.C. § 3582(c)(2) for obtaining a

sentence reduction. The Court lacks subject matter jurisdiction to consider his

reduction request. See Forman, 553 F.3d at 588; Lawrence, 535 F.3d at 637-

38.

            The Court therefore GRANTS counsel’s motion to withdraw (Doc. 302)

and DISMISSES the motion for sentence reduction (Doc. 297) for lack of

jurisdiction.

            IT IS SO ORDERED.

            Signed this 2nd day of December, 2009.



                                                  /s/   DavidRHer|do|
                                                  Chief Judge
                                                  United States District Judge




                                   Page 3 of 3
